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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE
Westeru Division

UNITED STATES OF AMERICA

-vs- Case No. 2:05cr20251-Ma

ALANDUS T. LANE

 

ORDER OF TEMPORARY DETENTION
PENDING HEARING1 PURSUANT TO
BAIL REFORM ACT

Upon motion of the Govemment, it is ORDERED that a detention heating is set for
THURSDAY, AUGUST 18, 2005 at 2:30 P.M. before United States Magistrate .Iudge S. Thomas
Anderson in Courtroom M-3, 9“' Floor, United States Courthouse and Federal Building, 167 North
Main, Memphis, TN. Pending this hearing, the defendant shall be held in custody by the United
States Marshal and produced for the hearing

Date: August 15, 2005 `_(’_%\
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"’ TU M. PHAM
UNITED STATES MAGISTRATE IUDGE

 

 

lIf not held immediately upon defendant's first appearance, the hearing may be continued for up to three days upon
motion of the government, or up to live days upon motion of the defendant 18 U.S.C. § 3142(f)(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(f`) are present. Subsection ( l) sets forth
the grounds that may be asserted only by the attorney for the govemment; subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial ofticer's own motion, if there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct j ustice, or threaten, inj ure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or juror.

AO 470 (BfBS) Order of Temporary Detention

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Notice of Distribution

This notice confirms a copy of the document docketed as number 51 in
case 2:05-CR-20251 Was distributed by faX, mail, or direct printing on
August 19, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

